Case 8:19-cv-01677-JVS-KES Document 15 Filed 12/06/19 Page 1 of 13 Page ID #:104

                                                                     ~,



     1   SHUTAO LIN
         15333 Culver Drive, Suite 340-305                    SEC -6 PM 3~ D0
     2   Irvine, CA 92604 USA
         Tel: (203) 727-1102                                              ;~i:d`~T
     3   Fax: (949) 502-8909
         Email: ninerainylane@protonmail.com
     4                                                  ~x~
         Party in Pro Se
     5

     6

     7
                            UNITED STATES DISTRICT COURT
     8
                           CENTRAL DISTRICT OF CALIFORNIA
     9
                                  SOUTHERN DIVISION
    10

    11
         SHUTAO LIN,                       Case: SACV 19-01677 JVS (RESx)
    12
                    Plaintiff,             RETURN OF SERVICE
    13
              vs.
    14
         The Gabonese Republic,
    15
                    Defendant.
    16

    17

    18                            RETURN OF SERVICE

    19          I HEREBY CERTIFY that service of process on Defendant The

    20   Gabonese Republic was accomplished pursuant to 28 U.S.C. S
    21   1608(a)(3) in the following manner: On September 9, 2019, a copy

    22   of the Summons and Complaint and all attachments, including
    23   French translations of those documents, were delivered to DHL in
    24   accordance with the Attorney Manual for Service of Process on a
    25 I Foreign Defendant for shipping to The Gabonese Republic, c/o

    26   Abdu Razzaq Guy Kambogo (Foreign Minister), Ministre des
    27   Affiares etrangeres, de Independence Boulevard, Boulevard
    28




                                           1
                                  [RETURN OF SERVICE]
Case 8:19-cv-01677-JVS-KES Document 15 Filed 12/06/19 Page 2 of 13 Page ID #:105




     1   Triomphal, Libreville, Gabon. A copy of the RECEIPT FOR FOREIGN

     2 , SERVICE (ECF Docket #9) is attached as Exhibit 1. A copy of the

     3 ' Tracking receipt from DHL is attached as Exhibit 2. Finally, the

     4   signed receipt of delivery by DHL, attached as Exhibit 3, shows

     5   that the Defendant received the Summons and Complaint on

     6   September 13, 2019.

     7

     8   I declare under penalty of perjury under the laws of the United

     9   States that the foregoing information is true and correct.

    10

    11   Dated: December 6, 2019

    12

    13

    14
                                          SHUTAO LIN, Party in Pro Se
    15
                                          15333 Culver Drive, Suite 340-305
    16                                    Irvine, CA 92604 USA
                                          Tel: (203) 727-1102
    17                                    Fax: (949) 502-8909

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                                   [RETURN OF SERVICE]
Case 8:19-cv-01677-JVS-KES Document 15 Filed 12/06/19 Page 3 of 13 Page ID #:106




                          - EXHIBIT 1-
        RECEIPT FOR FOREIGN SERVICE(ECF Docket #9)
Case 8:19-cv-01677-JVS-KES Document 15 Filed 12/06/19 Page 4 of 13 Page ID #:107



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Case 8:19-cv-01677-JVS-KES Document 15 Filed 12/06/19 Page 8 of 13 Page ID #:111



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Case 8:19-cv-01677-JVS-KES Document 15 Filed 12/06/19 Page 9 of 13 Page ID #:112




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Case 8:19-cv-01677-JVS-KES Document 15 Filed 12/06/19 Page 10 of 13 Page ID #:113




                          - EXHIBIT Z -
                      DHL Tracking Service Receipt
      Case 8:19-cv-01677-JVS-KES Document 15 Filed 12/06/19 Page 11 of 13 Page ID #:114
12/4/2019                                       Tracking, Track Parcels, Packages, Shipments ~ DHL Express Tracking

                                                                                    English       Contact Center               DHL Worldwide




Track DHL Express Shipments
Here's the fastest way to check the status of your shipment. No need to call Customer Service —our online results give you real-time, detailed
progress as your shipment speeds through the DHL network.



Result Summary

        Waybill: 1195415314                             Friday, September 13, 2019 at 10:21                        ~ pie(~`e
                                                        Origin Service Area:
        Si9ned for by: GINETTE                           SANTA ANA, CA -IRVINE -USA
         Get Signature Proof of Delivery                Destlnatfon Service Area:
                                                         LIBREVILLE -LIBREVILLE -GABON

 Friday, September 13, 2019                             Location                                 Time        P1ece
 22     Delivered -Signed for by: GINETTE               LIBREVILLE                               10:21             1 pig
 21     With delivery courier                           LIBREVILLE -GABON                        09:00             1 Piece
 Thursday,September 12, 2079                            Location                                 Time        Piece
 20     Arrived at Delivery Facility in LIBREVILLE -    LIBREVILLE -GABON                        21:59             1 Piece
        GABON
 19     Arrived at Sort Facility LIBREVILLE -GABON      LIBREVILLE -GABON                        21:59             1 Piece
 18     Processed at LIBREVILLE -GABON                  LIBREVILLE -GABON                        21:55             1 Piece
 17     Departed Faaliry in LAGOS -NIGERIA              LAGOS -NIGERIA                           15:42             1 Piece
 16     Processed at LAGOS -NIGERIA                     LAGOS -NIGERIA                           15:36             1 Piece
 15     Arrived at Sort Facility LAGOS -NIGERIA         LAGOS -NIGERIA                           12:23             1 Piece
 14     Departed Facility in BRUSSELS -BELGIUM          BRUSSELS -BELGIUM                        06:46             ~ piece
 13     Processed at BRUSSELS -BELGIUM                  BRUSSELS -BELGIUM                        00:09             1 Piece
 Wednesday,September 11, 2019                           Location                                 Time        Piece
 12     Shipment on hold                                BRUSSELS -BELGIUM                        21:59             1 Piece
 11     Artived at Sort Facility BRUSSELS -             BRUSSELS -BELGIUM                        21:18             1 Piece
        BELGIUM
 10     Departed Facility in LEIPZIG -GERMANY           LEfPZIG -GERMANY                         19:54             1 Piece
 9      Shipment on hold                                LEIPZIG -GERMANY                         11:31             1 Piece
 8      Processed at LEIPZIG -GERMANY                   LEIPZIG -GERMANY                         10:10             1 Piece
 7      Arrived at Sort Facility LEIPZIG -GERMANY       LEIPZIG -GERMANY                         00:35             1 Piece
 Tuesday, September 10, 2019                            Location                                 Time        Pieee
 6      Departed Faality in LOS ANGELES                 LOS ANGELES GATEWAY, CA -USA             04:17             1 Piece
        GATEWAY -USA
 Monday,September 09, 2019                              Location                                 Time        Piece
 5      Processed at LOS ANGELES GATEWAY -              LOS ANGELES GATEWAY, CA -USA             23:01             ~ piece
        USA
 4      Arrived at Sort Facility LOS ANGELES            LOS ANGELES GATEWAY, CA -USA             21:18             1 Piece
        GATEWAY -USA
 3      Departed Facility in SANTA ANA -USA             SANTA ANA, CA -USA                       19:42             1 Piece
 2      Processed at SANTA ANA -USA                     SANTA ANA, CA -USA                       19:41             1 Piece
 1      Shipment picked up                              SANTA ANA, CA -USA                       13:48             ~ p~~



https://www.dhl.com/en/express~racking.html?AW8=1195415314&brand=DHL                                                                           1/2
Case 8:19-cv-01677-JVS-KES Document 15 Filed 12/06/19 Page 12 of 13 Page ID #:115




                          - EXHIBIT 3-
                 DHL Service Signed Receipt of Delivery
Case 8:19-cv-01677-JVS-KES Document 15 Filed 12/06/19 Page 13 of 13 Page ID #:116

                                                                                                            __~-~   ~-~




 06 December 2019
 Dear Customer,
 This is a proof of delivery /statement of final status for the shipment with waybill number 1195415314.
 Thank you for choosing DHL Express.
 www.dhl.com


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  Signed                GINETTE                                Destination Service Area       LIBREVILLE
                                                                                              GABON

                                                               Shipment Status                 Deli~nered
                           I~



                                                               Piece ID(s)                    JD014600007172770423



  Additional Shipment Details

  Service               EXPRESS 1NORLDIMDE doc                 Origin Service Area            IRVINE
  Picked Up             09 September 2019 at 13.50                                            UNITED STATES OF AMERICA
                                                               Shipper Reference              DP 09-05-19
